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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JIAN WU and
 FEN BIAO CAI,
 on behalf of themselves and other persons
 similarly situated,
                                                               17cv04661 (PGG) (DF)
                                Plaintiffs,
                                                               MEMORANDUM
                  -against-                                    AND ORDER

 SUSHI NOMADO OF MANHATTAN, INC.
   d/b/a Nomado 33,
 SUSHI PARA 33 CORPORATION
   d/b/a Nomado 33,
 SUSHI PARA MANHATTAN, CORP.
   d/b/a Sushi Para”
   d/b/a Sushi Para (14th Street)
   d/b/a Sushi Para (Third Avenue)
   d/b/a Sushi Para 88,
 WEI LOONG CHAN
   a/k/a Wei Loon Chan,
 WENWU CHEN,
 ZHOU LIN,
 SHENG R DONG, and
 DING FENG ZHANG
   a/k/a Andy Zhang,

                                Defendants.


DEBRA FREEMAN, United States Magistrate Judge:

       In this action, which is before this Court for general pretrial supervision, plaintiffs

Jian Wu (“Wu”) and Fen Biao Cai (“Cai”) (collectively, “Plaintiffs”) assert claims under the

Fair Labor Standards Act (“FLSA”) and the New York Labor Law (“NYLL”), alleging,

inter alia, that they were denied minimum wages and overtime pay while employed by

defendants Sushi Nomado Of Manhattan, Inc. (d/b/a “Nomado 33”), Sushi Para 33 Corporation

(d/b/a “Nomado 33”), Sushi Para Manhattan, Corp. (d/b/a “Sushi Para,” “Sushi Para (14th
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Street),” “Sushi Para (Third Avenue),” and “Sushi Para 88”), Wei Loong Chan (a/k/a Wei Loon

Chan), Wenwu Chen, Zhou Lin, Sheng R Dong, and Ding Feng Zhang (a/k/a Andy Zhang)

(collectively, “Defendants”). Currently before this Court is a motion made pursuant to

Section 216(b) of the FLSA, by which Plaintiffs seek conditional certification of a collective of

similarly situated employees and ask this Court to facilitate Court-authorized notice, so that the

similarly situated employees may opt into Plaintiffs’ collective action. For the reasons that

follow, Plaintiffs’ motion (Dkt. 72) is granted in part and denied in part.

I.     FACTUAL BACKGROUND

       Wu commenced this wage-and-hour action on June 20, 2017, on his own behalf and

purportedly on behalf of those similarly situated. (See Complaint, dated June 20, 2017 (Dkt. 1).)

About eight months later, Dai – then represented by different counsel – commenced a separate

wage-and-hour action in this Court, against certain of the same defendants, on his own behalf

and also purportedly on behalf of those similarly situated. (See Complaint, dated Feb. 6, 2018

(Dkt. 2, in Cai v. Sushi Para, et al., No. 18cv01126 (PGG) (DF)).) After some procedural

missteps and confusion, the two actions have now been consolidated, via the filing by both

Plaintiffs, on January 14, 2019, of a Consolidated First Amended Complaint. (See Consolidated

First Amended Complaint, dated Jan. 10, 2019 (“Amended Complaint” or “Am. Compl.”)

(Dkt. 71).)

       According to the Amended Complaint, Defendants own and operate three Japanese

restaurants in Manhattan: Nomado 33 on East 33rd Street, Sushi Para 88 on West 14th Street,

and Sushi Para on Third Avenue. (Id. ¶ 42.) Plaintiffs also plead that each of Defendants’

restaurants are engaged in interstate commerce, have gross annual sales in excess of $500,000,

and have “purchased and handled goods moved in interstate commerce” (id. ¶¶ 11-19), bringing



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them within the coverage of the FLSA, see 29 U.S.C. §§ 206(a), 207(a)(1). Plaintiffs allege that

each of the Defendants qualifies as an “employer” under the FLSA, as each “(1) had the power to

hire and fire employees, (2) supervised and controlled employee work schedules and conditions

of employment, (3) determined employee rates and methods of payment, and (4) maintained

employee records” at one of the aforementioned restaurants. (Am. Compl. ¶¶ 22, 25, 28, 31, 34.)

The nature of Plaintiffs’ work for Defendants, as well as Plaintiffs’ hours and pay, are

summarized below.

               Plaintiff Wu

       Plaintiff Wu asserts that he worked as a delivery worker for Defendants at Nomado 33,

located on East 33rd Street, from approximately January 1, 2016 to June 15, 2016, and again

from December 15, 2016 to May 24, 2017. (See Declaration of John Troy in Support of Motion

for Conditional Collective Certification, dated Mar. 20, 2019 (“Troy Decl.”) (Dkt. 73), Ex. 5

(Affidavit of Jian Wu in Support of Plaintiff’s Motion for Conditional Collective Certification,

sworn to Aug. 10, 2018 (“Wu Aff.”) (Dkt. 73-5)) ¶ 3; Am. Compl. ¶ 60.) He contends that,

during his first six months of employment at the restaurant, he worked 12 hours per day, two

days a week, and five hours per day, three days a week, for a total of 39 hours per week, with no

designated rest breaks. (See Wu Aff. ¶¶ 9-12.)

       Wu further asserts that, throughout his employment, he was paid a flat rate of $32 per day

for his 12-hour work days and a flat rate of $16 per day for his five-hour days. (See id. ¶ 15.)

Based on these hours and pay, Wu claims that he was neither paid the required minimum wage

nor “spread-of-hours” wages for days he worked more than 10 hours. (See id. ¶¶ 8, 21.)




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Additionally, Wu claims that Defendants required him to purchase a delivery vehicle and never

reimbursed him for the purchase or maintenance of the vehicle. (See Am. Compl. ¶¶ 80-82.) 1

               Plaintiff Cai

       Plaintiff Cai asserts that he was employed as a delivery worker at two of Defendants’

restaurants between 2013 and 2017. (See Troy Decl., Ex. 6 (Affidavit of Fen Biao Cai in

Support of Plaintiff’s Motion for Conditional Collective Certification, sworn to Dec. 13, 2018

(“Cai Aff.”) (Dkt. 73-6)) ¶ 3.) He states that, from approximately October 1, 2013 to

December 31, 2014, he was employed at the Sushi Para location on Third Avenue, where he

worked 12 hours per day, six days per week, with no designated rest break each day, for a total

of 72 hours per week. (See id. ¶¶ 5-6, 11.) Further, he states that, from approximately

January 16, 2015 to March 15, 2015, he was employed at the Sushi Para location on 14th Street,

where he worked 11.5 hours per day, six days per week, with no designated rest break each day,

for a total of 69 hours per week. (See id. ¶¶ 7-8, 11.) Finally, he states that, from approximately

March 16, 2015 to November 10, 2017, he was again employed at the Sushi Para location on

Third Avenue, where he worked 11.5 hours per day, six days per week, with no designated rest

break each day, for a total of 69 hours per week. (See id. ¶¶ 9-11.)

       Cai further asserts that he was paid a set amount per month: $1,200 per month from

October 1, 2013 to March 15, 2015, and $1,300 per month from March 16, 2015 to

November 10, 2017. (See Cai Aff. ¶¶ 6, 8, 10.) He generally claims that, during his

employment, he was not paid the required minimum wage, spread-of-hours wages, or overtime

compensation. (See id. ¶¶ 4, 19.) Additionally, Cai claims that, apart from his delivery duties,


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         Wu does not specify what type of vehicle he was allegedly required to purchase.
Further, as he does not allege that a similar requirement applied to other delivery workers, this
Court will not take this allegation into consideration on the present motion.

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he was required to perform non-tipped “side work,” such as preparing and packaging delivery

orders, for approximately two hours per day. (Am Compl. ¶¶ 90, 91.)

       Both Wu and Cai allege that they never received wage statements, written notices of their

rate of pay, notices of the minimum-wage tip-credit provision, or notification of FLSA and

NYLL overtime and wage regulations. (See id. ¶¶ 61, 71-72, 86-88, 102, 104.)

II.    PROCEDURAL HISTORY

       As noted above, Plaintiffs filed their Amended Complaint on January 14, 2019 (see

Am. Compl.), and Defendants filed an Answer on March 28, 2019 (Dkt. 76), denying Plaintiffs’

allegations of FLSA and NYLL violations (see id.).

       On March 20, 2019, Plaintiffs filed their motion for conditional certification of an FLSA

collective. (See Notice of Plaintiffs’ Motion for Conditional Collective Certification, dated

Mar. 20, 2019 (Dkt. 72).) By their motion, Plaintiffs seek to proceed in this case on behalf of

themselves and other similarly situated persons employed by Defendants at any time from

June 20, 2014 (three years prior to the date that Wu’s original Complaint was filed) to the

present. (See id.)

       In support of their motion, Plaintiffs have submitted a Declaration by counsel (Troy

Decl.) and the Affidavits of Wu and Cai, cited above (id., Exs. 5, 6), as well as a memorandum

of law (see Memorandum of Law in Support of Plaintiff’s Motion for [Conditional Certification

and Court-Authorized Notice], dated Mar. 20, 2019 (“Pl. Mem.”) (Dkt. 74)). Following

Defendants’ failure to file an opposition to Plaintiffs’ motion, Plaintiffs addressed a letter to this

Court on April 11, 2019, requesting that the motion be granted in its entirety as unopposed. (See

Letter Regarding Plaintiffs’ Unopposed Motion for Conditional Collective Certification, dated

Apr. 11, 2019 (“Pl. 4/11/19 Letter”) (Dkt. 78).)



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                                          DISCUSSION

I.     APPLICABLE LEGAL STANDARDS

               The FLSA and Section 216(b)

       Pursuant to the FLSA, an employee must be paid, at least, the federal statutory minimum

wage for the first 40 hours that he or she worked in a given work week. See 29 U.S.C. § 206(a).

Moreover, an employee is entitled to be paid for overtime hours (i.e., any hours exceeding

40 hours per week), at a “rate not less than one and one-half times the regular rate at which [the

employee] is employed.” Id. § 207(a)(1); see also, e.g., Benitez v. Demco of Riverdale, LLC,

No. 14cv7074 (CM), 2015 WL 3780019, at *2 (S.D.N.Y. June 15, 2015) (quoting

Section 207(a)(1)). “The statute of limitations under the FLSA is ordinarily two years, but it

may be extended to three years if the claim arises from a ‘willful’ violation.” Yu G. Ke v. Saigon

Grill, Inc., 595 F. Supp. 2d 240, 258 (S.D.N.Y. 2008) (citing 29 U.S.C. § 255(a)). To satisfy the

willfulness requirement, a plaintiff must demonstrate that the employer either acted knowingly or

“showed reckless disregard for the matter of whether its conduct was prohibited by the statute.”

(Id. (quoting McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988)).)

       Section 216(b) of the FLSA allows employees to “recover unpaid minimum wages and/or

overtime compensation from an employer who violates the [FLSA’s] provisions, and permits

such an action to be brought as a collective action.” Summa v. Hofstra Univ., 715 F. Supp. 2d

378, 384 (E.D.N.Y. 2010). Pursuant to Section 216(b),

               [a]n action . . . may be maintained against any employer . . . by any
               one or more employees for and in behalf of himself or themselves
               and other employees similarly situated. No employee shall be a
               party plaintiff to any such action unless he gives his consent in
               writing to become such a party and such consent is filed in the
               court in which such action is brought.




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29 U.S.C. § 216(b); see also Fasanelli v. Heartland Brewery, Inc., 516 F. Supp. 2d 317, 320

(S.D.N.Y. 2007) (noting that employees can maintain a collective action against an employer

where the employees are (1) “similarly situated,” and (2) give their consent to become a party in

writing).

       There are three “essential features” of an FLSA collective action under Section 216(b).

Lynch v. United Servs. Auto. Ass’n, 491 F. Supp. 2d 357, 367 (S.D.N.Y. 2007).

               First, in order to participate in a collective action, an employee
               must “opt-in,” meaning the employee must consent in writing to
               join the suit and that consent must be filed with the court. Second,
               the statute of limitations runs on each employee’s claim until his
               individual Consent Form is filed with the court. Third, to better
               serve the FLSA’s “broad remedial purpose,” courts may order
               notice to other potential similarly situated employees to inform
               them of the opportunity to opt-in the case.

Id. (quoting Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 173 (1989)).

               Standards for Conditional Certification

       “Courts generally determine the appropriateness of class certification at two stages: first,

on the initial motion for conditional class certification, and second, after discovery.” Fasanelli,

516 F. Supp. 2d at 321 (collecting cases). On the initial motion, which is typically submitted

prior to discovery, a court determines whether potential opt-in plaintiffs are similarly situated to

any named plaintiffs, based on the pleadings and affidavits submitted to the court. Id.; see also

In re Penthouse Executive Club Comp. Litig., No. 10cv01145 (NRB), 2010 WL 4340255, at *3

(S.D.N.Y. Oct. 27, 2010). If the court is satisfied that the “similarly situated” standard has been

met, it will authorize that notice be sent to potential opt-in plaintiffs. Fasanelli, 516 F. Supp. 2d

at 321. After discovery is complete, the court will evaluate the full record before it, in order to

determine whether the opt-in plaintiffs are, in fact, similarly situated. Id. “If they are not, the




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class can be decertified at that time and the claims of dissimilar ‘opt-in’ plaintiffs dismissed

without prejudice.” Id.

        In light of the two-step process, “[t]he burden imposed at [the] first conditional

certification stage is minimal.” Amador v. Morgan Stanley & Co., No. 11cv4326 (RJS), 2013

WL 494020, at *4 (S.D.N.Y. Feb. 7, 2013) (internal quotation marks and citation omitted;

second alteration in original). As discussed further below, the burden at this stage is “low”

because “the purpose of this first stage is merely to determine whether ‘similarly situated’

plaintiffs do in fact exist.” Myers v. Hertz Corp., 624 F.3d 537, 555 (2d Cir. 2010) (citation

omitted; emphasis in original). It is not until the second stage, upon a “full review of the factual

record developed during discovery,” that the court determines “whether opt-in plaintiffs are

actually ‘similarly situated.’” Amador, 2013 WL 494020, at *4 (internal quotation marks and

citation omitted; emphasis in original). At bottom, while conditional certification is not

automatic, and while a plaintiff’s showing in support of certification cannot be entirely

conclusory, see, e.g., Morales v. Plantworks, Inc., No. 05cv2349 (DC), 2006 WL 278154, at

*2-3 (S.D.N.Y. Feb. 2, 2006), courts have recognized that the standard at this first stage is

“‘fairly lenient,’ [and thus] courts applying it ‘typically grant[ ] conditional certification.’”

Amador, 2013 WL 494020, at *3 (quoting Malloy v. Richard Fleischman & Assocs. Inc.,

No. 09cv332 (CM), 2009 WL 1585979, at *2 (S.D.N.Y. June 3, 2009)).

        “Neither the FLSA nor its implementing regulations define ‘similarly situated.’” Summa,

715 F. Supp. 2d at 385 (citing Hoffmann v. Sbarro, Inc., 982 F. Supp. 249, 261 (S.D.N.Y.

1997)). Courts in this Circuit have held that named plaintiffs can meet their burden by making a

modest factual showing demonstrating that they and potential opt-in plaintiffs together were

victims of a common policy or plan that violated the law. Myers, 624 F.3d at 554-55; see also



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Summa, 715 F. Supp. 2d at 385. Indeed, the relevant question “is not whether [the] [p]laintiffs

and [potential opt-in members are] identical in all respects, but rather whether they were

subjected to a common policy.” Raniere v. Citigroup Inc., 827 F. Supp. 2d 294, 323 (S.D.N.Y.

2011) (internal quotation marks and citation omitted), rev’d on other grounds, 533 F. App’x 11

(2d Cir. 2013). The fact that a potential class may involve employees in “a variety of diverse

positions . . . does not undermine the conditional certification of the class since ‘under [S]ection

216(b) parties may be similarly situated, despite not occupying the same positions or performing

the same job functions and in the same locations, provided that they are subject to a common

unlawful policy or practice.’” Summa, 715 F. Supp. 2d at 390 (quoting Colozzi v. St. Joseph’s

Hosp. Health Ctr., 595 F. Supp. 2d 200, 207 (N.D.N.Y. 2009)); see also Lynch, 491 F. Supp. 2d

at 369 (noting that “any factual variances that may exist between the plaintiff and the putative

class do not defeat conditional class certification” because the court may later, after having the

benefit of full discovery, “decertify the class or divide it into subclasses, if appropriate” (citations

omitted)).

        Further, at this initial procedural stage, the Court does not “resolve factual disputes,

decide substantive issues going to the ultimate merits, or make credibility determinations.”

Shillingford v. Astra Home Care, Inc., 293 F. Supp. 3d 401, 407 (S.D.N.Y. 2018) (quoting

Hypolite v. Health Care Servs. of N.Y., Inc., 256 F. Supp. 3d 485, 489 (S.D.N.Y. 2017)); see also

Lynch, 491 F. Supp. 2d at 368 (“Indeed, a court should not weigh the merits of the underlying

claims in determining whether potential opt-in plaintiffs may be similarly situated.” (citations

omitted)); Bijoux v. Amerigroup N.Y., LLC, No. 14cv3891 (RJD) (VVP), 2015 WL 4505835,

at *3 (E.D.N.Y. July 23, 2015) (“[A]t this stage, the court’s task is only to conclude whether

there may be other similarly situated workers, and [the court] need not evaluate the underlying



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merits of a plaintiff’s claims.” (internal quotation marks and citations omitted; emphasis in

original)), report and recommendation adopted, 2015 WL 5444944 (Sept. 15, 2015). Thus, “the

focus of this inquiry . . . is not on whether there has been an actual violation of law[,] but rather

on whether the proposed plaintiffs are ‘similarly situated’ under 29 U.S.C. § 216(b) with respect

to their allegations that the law has been violated.” Young v. Cooper Cameron Corp., 229 F.R.D.

50, 54 (S.D.N.Y. 2005). Additionally, as “the initial class certification determination [is]

made . . . on preliminary documents such as pleadings and affidavits,” the determination is

“necessarily [based on] unproven allegations.” Fasanelli, 516 F. Supp. 2d at 321-22 (rejecting

defendant’s arguments that declarations provided by plaintiff should not be relied upon because

they contained “inadmissible hearsay, speculation, personal beliefs and conclusions,” and

granting conditional certification).

       Even so, to meet his or her burden on a motion for conditional certification, a plaintiff

must do more than make unsupported assertions. Rather, a plaintiff must make a facially

adequate showing that putative members of the collective are similarly situated “with respect to

the FLSA violations [the named plaintiff] allege[s] – not other factors.” Bijoux, 2015 WL

4505835, at *3 (noting that a modest factual showing cannot rest on unsupported assertions, but

that a plaintiff can meet his or her burden by supplementing the pleadings with other evidence,

such as affidavits from named plaintiffs, opt-in plaintiffs, or other putative collective action

members (citations omitted)). A plaintiff must meet this minimal burden, even if the motion is

unopposed by the defendants. See Tate v. WJL Equities Corp., No. 13cv8616 (JLC), 2014 WL

2504507, at *1 (S.D.N.Y. June 3, 2014).




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                 Court Authorized Notice

        Once a court determines that a named plaintiff has demonstrated that he or she is

similarly situated to other employees of the defendant with respect to the defendant’s alleged

unlawful policy for paying minimum wages and/or overtime pay, and has thus satisfied his or her

burden for initial certification of a collective action, the court may proceed to authorize issuance

of a notice informing potential additional plaintiffs of their opportunity to opt into the lawsuit.

Lynch, 491 F. Supp. 2d at 367. “Although Section 216(b) does not explicitly address

court-authorized notice, ‘it is well settled that district courts have the power to authorize an

FLSA plaintiff to send such notice to other potential plaintiffs.’” Grant v. Warner Music Grp.

Corp., No. 13cv4449 (PGG), 2014 WL 1918602, at *2 (S.D.N.Y. May 13, 2014) (quoting

Gjurovich v. Emmanuel’s Marketplace, Inc., 282 F. Supp. 2d 101, 104 (S.D.N.Y. 2003); internal

quotation marks and additional citations omitted).

        Indeed, as the statute of limitations does not toll for opt-in plaintiffs until they consent to

appear, see Lynch, 491 F. Supp. 2d at 371, courts will “routinely approve court-authorized notice

in order to ensure that the rights of potential claimants do not expire during the discovery

process.” Grant, 2014 WL 1918602, at *2; see also Khamsiri v. George & Frank’s Japanese

Noodle Rest. Inc., No. 12cv265 (PAE), 2012 WL 1981507, at *2 (S.D.N.Y. June 1, 2012)

(“[C]ourt-authorized notice is appropriate[ ] to prevent erosion of claims due to the running

statute of limitations . . . .”).

                 [C]ourt-supervised notice is the preferred method for managing the
                 notification process for several reasons: it avoids “multiplicity of
                 duplicative suits;” it allows the court to set deadlines to advance
                 the disposition of an action; it furthers the “wisdom and necessity
                 for early judicial intervention” in multi-party actions; and it
                 protects plaintiffs’ claims from expiring under the statute of
                 limitations.



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Lynch, 491 F. Supp. 2d at 367 (quoting Hoffmann-La Roche, 493 U.S. at 171-72).

       “[T]he form and content of the notice” should be “approved by the [c]ourt prior to

mailing,” in order to prevent “after-the-fact disputes between counsel” regarding the form and

manner of the notice and the opt-in plaintiffs’ consent form. Krueger v. New York Tel. Co.,

No. 93cv0178 (LMM), 1993 WL 276058, at *3 (S.D.N.Y. July 21, 1993) (citing Hoffmann-La

Roche, 493 U.S. at 170). As “neither the FLSA nor the courts ‘have specifically outlined what

form court-authorized notice should take,’” Amador, 2013 WL 494020, at *9 (quoting Fasanelli,

516 F. Supp. 2d at 323), the content of the notice is left to the court’s broad discretion, see

Fasanelli, 516 F. Supp. 2d at 323 (citing Hoffmann-La Roche, 493 U.S. at 170, and noting that

“[t]he Supreme Court has abstained from reviewing the contents of a proposed notice under

§ 216(b), noting that such ‘details’ should be left to the broad discretion of the trial court”).

When exercising discretion, courts should consider the overarching policies of the notice

provisions of Section 216(b), such policies which include achieving judicial efficiency and

lowering individual costs for plaintiffs. Id. “[T]hese benefits ‘depend on employees receiving

accurate and timely notice concerning the pendency of the collective action, so that they can

make informed decisions about whether to participate.’” Id. (quoting Hoffmann-La Roche, 493

U.S. at 170).

II.    PLAINTIFFS’ MOTION FOR CONDITIONAL
       CERTIFICATION OF A PROPOSED COLLECTIVE

       As set out above, the question for the Court on Plaintiffs’ motion for conditional

certification of an FLSA collective focuses “on whether the proposed plaintiffs are ‘similarly

situated’ . . . with respect to their allegations that the law has been violated.” Young, 229 F.R.D.

at 54 (citation omitted). In their Amended Complaint, Plaintiffs purport to bring this action

individually and on behalf of “all other current and former non-exempt employees” who were

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employed by Defendants from June 20, 2014 to June 20, 2017, and who were not correctly paid

under the FLSA. (Am. Compl. ¶ 108.) Plaintiffs assert that a collective here should cover all

non-exempt employees of Defendants because “[a]ll the Class members were subject to the same

corporate policies of . . . failing to pay minimum wage and/or overtime.” (Id. ¶ 114.)

Defendants have not opposed Plaintiffs’ motion, but, as set out above, this does not relieve

Plaintiffs from meeting their burden to make at least a modest showing that the categories of

workers whom they seek to include in the collective, were, in fact, similarly situated to them,

with respect to Defendants’ allegedly unlawful policies. 2 See Tate, 2014 WL 2504507, at *1.

       While Plaintiffs argue persuasively that their Amended Complaint and Affidavits

demonstrate their entitlement to proceed as a collective action under the FLSA (see Am.

Compl. ¶¶ 108-17), their submissions offer varying degrees of information about the categories

of workers that Plaintiffs seeks to include in their proposed collective. Upon its review of

Plaintiffs’ submissions, the Court finds it appropriate to grant conditional certification of an

FLSA collective action here, but not to permit a collective as broad as Plaintiffs request. As

discussed further below, Plaintiffs have adequately demonstrated, at this stage, that certain



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          This Court notes that a prior Scheduling Order, issued in the case commenced by Wu,
set the close of discovery at August 1, 2018. (See Dkt. 23.) In light of the filing of the separate
action by Cai, however (see Factual Background, supra) and the subsequent motion to
consolidate, some uncertainty ensued regarding the discovery schedule. In any event, even if
discovery as to the claims of Wu and Cai has been conducted, discovery has presumably not
been conducted regarding other employees who may seek to opt into a collective action.
Accordingly, it is this Court’s understanding that the current discovery record would be
insufficient at this time to enable it to undertake – as would generally be appropriate at the
second step of the certification process – a “full review of the factual record developed during
discovery.” Amador, 2013 WL 494020, at *4 (internal quotation marks and citation omitted).
Regardless of the age of this case, therefore, this Court will review Plaintiffs’ motion based on
the standard typically used at the first (pre-discovery) step in the certification process, which, as
set out above, only requires Plaintiffs to meet a minimal burden to show the appropriateness of
the proposed collective. (See Discussion, supra, at Section I(B).)

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identified categories of workers – including delivery workers, sushi chefs, food packers,

dishwashers, and wait staff – were similarly situated to them with respect to Defendants’

allegedly unlawful pay practices under the FLSA (such that these categories of workers should

conditionally be included in a collective), but Plaintiffs have not made such a showing with

respect to other categories of workers (specifically including receptionists), and certainly not “all

non-exempt employees.” 3

               Delivery Workers

       Plaintiffs Wu and Cai (who state that they, themselves, worked as delivery workers) have

both provided detailed descriptions of the hours they worked, the manner in which they were

paid, and the amount of their wages. Based on those descriptions, Wu and Cai contend that,

during the proposed collective period, they were neither compensated at the required minimum

wage, nor paid appropriate overtime pay for all the hours they worked over 40 hours each week.

(Wu Aff. ¶ 8; Cai Aff. ¶¶ 4, 6, 8, 10.) From this, a court “may infer” that other delivery workers

employed by Defendants “worked similar shifts for comparable pay, thereby suffering the same

violations of the FLSA.” Lianhua Weng v. Kung Fu Little Steamed Buns Ramen Inc.,

No. 17cv273 (LAP), 2018 WL 1737726, at *3 (S.D.N.Y. Mar. 26, 2018) (quoting She Jian

Guo v. Tommy’s Sushi Inc., No. 14cv3946 (PAE), 2014 WL 5314822, at *3 (S.D.N.Y. Oct. 16,

2014)); see also Cheng Xia Wang, et al. v. Shun Lee Palace Restaurant, Inc. et al., No. 17cv840

(VSB), 2018 WL 3155835, at *4 (S.D.N.Y. June 28, 2018) (finding that certification was proper

for all deliverymen based on the experience of the named plaintiffs, who were deliverymen).



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          It is not clear whether Defendants employ any category of workers other than those
identified in Plaintiffs’ Affidavits and expressly discussed herein. Certainly, it cannot be said
that a “job-specific factual showing” has been made regarding any other category of worker.
Yap v. Mooncake Foods, Inc., 146 F. Supp. 3d 552, 565 (S.D.N.Y. 2015).

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       Furthermore, in their Affidavits, both Wu and Cai provide relevant information from

conversations that they had with other delivery workers, identified in their Affidavits as “Wu,”

“Wu,” “Head Liu,” and “Old Jiang.” First, plaintiff Wu attests to his understanding that another

delivery worker, also surnamed Wu, started working at the Defendants’ 33rd Street location in

2015 and was paid $920 per month, regardless of how many hours he worked. (Wu Aff. ¶¶ 28,

30, 34, 38.) Second, plaintiff Wu attests that he knew another delivery worker, also surnamed

Wu, who started working at Defendants’ 33rd Street location in 2012 and was also paid $920 per

month, regardless of how many hours he worked. (Id. ¶¶ 39, 43, 48, 50.) Third, Wu states that

he knew a delivery worker whom the delivery workers called “Delivery Head” Liu. (Id.

¶¶ 66-67, 70-71.) According to Wu, he had conversations with Liu, in which he learned that Liu

started working at Defendants’ 33rd Street and 14th Street locations in approximately 2011. Wu

also learned that Liu was paid $1,500 per month, without overtime wages, for working

approximately 46 hours per week. (Id. ¶¶ 75-79.) Lastly, Cai attests to his understanding that a

delivery worker known as “Old Jiang,” who started working for Defendants at the Third Avenue

location on or about March 2017, was paid $30 per day for six hours of work, including some

non-tipped work. (Cai Aff. ¶¶ 26-32.)

       These types of attestations by plaintiffs have generally been found sufficient to support

conditional certification of a collective action, including the types of workers identified. See,

e.g., Guo Qing Wang v. H.B. Rest. Grp., Inc., No. 14cv813 (CM), 2014 WL 5055813, at *4

(S.D.N.Y. Oct. 7, 2014) (certification was proper based on the plaintiff’s observations and

conversations with his coworkers who worked in excess of 40 hours); Gjurovich, 282 F. Supp.

2d at 104 (collective certification appropriate where plaintiff made “substantial allegations in his

complaint[] and in his sworn declaration” that he received the same salary regardless of the



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number of hours he worked and established a sufficient factual nexus between his situation and

the situation of other employees).

       Accordingly, based on Plaintiffs’ accounts of their own alleged experiences of having

been employed by Defendants as delivery workers and having been paid improperly under the

FLSA, as well as Plaintiffs’ specific accounts of the similar experiences of other delivery

workers, the Court finds that Wu and Cai have met their “light burden of making a ‘modest

factual showing’” that Plaintiffs and other delivery workers “were victims of a common policy or

plan that violated the law,” Sanchez v. Gansevoort Mgmt. Grp., Inc., No. 12cv75 (KBF), 2013

WL 208909, at *1 (S.D.N.Y. Jan. 10, 2013) (quoting Myers v. Hertz Corp., 624 F.3d 537, 555

(2d Cir. 2010)), rendering appropriate the conditional certification of a collective that includes

such workers.

                Sushi Chefs

       Plaintiffs have also made a sufficient showing to permit the inclusion in the collective of

the category of employees identified by Plaintiffs as “sushi chefs.” (See Wu Aff. ¶ 51; Cai Aff.

¶ 37.) Wu states that he knew a sushi chef (whom everyone called “Big Chef,” despite his small

stature) who, according to Wu, was employed at the 33rd Street location and worked 75 hours

per week from approximately 2011 to April 2016. (Wu Aff. ¶¶ 51-54.) Following conversations

with “Big Chef,” Wu states that he learned that “Big Chef” did not receive overtime wages,

despite working hours in excess of 40 per week. (Id. ¶¶ 55-56.) Additionally, Cai describes a

sushi chef he knew as “A Pi,” who, according to Cai, had worked 66 hours per week at

Defendants’ Third Avenue location, since 2016. (Cai Aff. ¶¶ 37-40.) During a conversation

with him, Cai reportedly learned that “A Pi” had been paid a flat rate of $700 per week,

regardless of how many hours he worked. (Id. ¶¶ 41-43.)



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       These personal conversations recounted by Plaintiffs are sufficient to establish that sushi

chefs were also subjected to the allegedly common practice of failing to pay overtime wages.

See Diatta v. Iguana New York Ltd., No. 15cv6399 (AT), 2016 WL 2865132, at *3 (S.D.N.Y.

May 10, 2016) (certification was proper where plaintiffs attested that they had spoken to other

employees in the kitchen of the restaurant who confirmed that their salary was fixed regardless

of how many hours they worked).

       Additionally, despite the fact that Plaintiffs’ statements only relate to sushi chefs at two

of Defendants’ three restaurant locations, sushi chefs from all three locations may be permitted

to join the collective. This is because “named plaintiffs [may be found] to be similarly situated

to employees at locations where they did not work, provided that the plaintiffs demonstrate that

they were all subject to the same allegedly unlawful policy or practice.” Hamadou v. Hess

Corp., 915 F. Supp. 2d 651, 662 (S.D.N.Y. 2013). In determining whether plaintiffs have met

this burden, “[c]ourts consider whether the plaintiffs have made an adequate showing to support

an inference that such a uniform policy or practice exists, and whether the locations share

common ownership or management.” Id.

       Cai has demonstrated a basis for having knowledge of the 14th Street location’s practices,

as he worked there himself. See id. at 663 (finding plaintiffs’ personal accounts of an unlawful

practice at one station in Queens and one station in the Bronx “sufficient to infer, at this early

stage in the litigation, that a common practice may have existed among the other stations”).

Further, Plaintiffs allege that Defendants shared in the ownership of the restaurants at each of the

cited locations (see Am. Compl. ¶¶ 39, 42), and Cai, in his Affidavit, supports Plaintiffs’

contention of common management, by stating that Defendant Zhang instructed him to return to

the Third Street location after he had worked for three months at the 14th Street location (see Cai



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Aff. ¶ 9). Consequently, Plaintiffs have made an adequate showing to support an inference that

sushi chefs employed at all three locations were similarly situated with respect to Defendants’

claimed unlawful pay policies, such that this category of workers, at all locations, should be

permitted to join the collective at this stage. See Hamadou, 915 F. Supp. 2d at 663; see also

Harhash v. Infinity West Shoes, Inc., No. 10cv8285 (DAB), 2011 WL 4001072, at *3 (S.D.N.Y.

2011) (finding employees similarly situated despite performing different job functions or

working at different locations).

               Food Packers

       Wu has also made a sufficient showing to permit inclusion in the collective of the

category of employees that he identifies as “packers.” This Court understands that packers are

responsible for packing bags of food for customers. (Wu Aff. ¶ 62.) Wu states that, at

Defendants’ 33rd Street location, he befriended a packer who had worked there since 2013 (see

id. ¶¶ 58, 60-61), and further states that, based on conversations with this friend, he learned that

that she customarily worked between 60 and 72 hours per week, but was never paid overtime

wages (see id. ¶¶ 63-65).

       Wu’s account of a personal conversation with an employee regarding Defendants’ failure

to pay her overtime wages, despite her working more than 40 hours per week, is sufficient to

show that employees in her position may have been subject to the same allegedly common

unlawful practice. See, e.g., Guo Qing Wang, 2014 WL 5055813, at *4; Gjurovich, 282 F. Supp.

2d at 104. Additionally, as discussed above, food packers employed at all three of Defendants’

restaurant locations may join the collective despite Wu’s account relating only to food packers at

the 33rd Street location. (See Discussion, supra, at Section II(B).) Even though Wu has no

personal knowledge of the practices at other locations, there is still enough information to permit



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a reasonable inference of common practices due to Plaintiffs’ allegations of Defendants’

common ownership and management of the restaurants. See Hamadou, 915 F. Supp. 2d at 662.

               Dishwashers

       Cai has also made a showing sufficient to permit inclusion in the collective of the

category of employees identified by Cai as “dishwashers.” Cai attests to his understanding that a

dishwasher who was employed at the Third Avenue restaurant location for one month in 2016

was paid a flat rate of $500 per week, although he worked 11 hours per day. (Cai Aff. ¶¶ 33-36.)

Cai states that he became aware of this dishwasher’s pay rate during a conversation the two had

regarding their wages. (Id. ¶ 35.) At this stage, this reported personal conversation is adequate

to support Plaintiffs’ contention that dishwashers at the Third Avenue location were subjected to

the allegedly common unlawful practice of non-payment of overtime wages. See Diatta, 2016

WL 2865132, at *3.

       For the same reasons discussed above, it is appropriate for the collective to be defined

broadly enough to include workers in this category across all of Defendants’ restaurant locations.

(See Discussion, supra, at Section II(B); see also Hamadou, 915 F. Supp. 2d at 662.)

               Wait Staff

       Additionally, Cai has made a sufficient showing to permit inclusion in the collective of

the category of employees identified by Plaintiffs as “waiters” or “waitresses.” (See Cai Aff.

¶¶ 45, 53; see also Wu Aff. ¶ 93.) Cai reportedly had at least one personal conversation with a

member of the wait staff that led him to understand that waiters and waitresses were also subject

to the Defendants’ allegedly common unlawful practice of not paying overtime wages. Cai

states that, at the Third Avenue location, he befriended two waitresses who had been employed

by Defendants since 2016. (See Cai Aff. ¶¶ 45, 47-48, 53, 55.) One reportedly told him



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personally that, despite working 66 hours per week, she was never paid overtime wages. (See id.

¶¶ 50-52.) Cai’s account of his conversation with this employee satisfies Plaintiffs’ burden to

make a modest factual showing that wait staff employed by Defendants were similarly situated to

Plaintiffs, with respect to Defendants’ challenged pay policies. See Garcia v. Spectrum of

Creations Inc., 102 F. Supp. 3d 541, 548-49 (S.D.N.Y. 2015) (determining that a single

employee’s affidavit was sufficient evidence of employees being similarly situated because it

recounted interactions with specifically identified employees, even if only at a single location);

see also Fasanelli, 516 F. Supp. 2d at 321-22 (finding that a plaintiff may make the required

showing on the basis of unproven allegations, including hearsay).

          Furthermore, for the reasons discussed above, this Court finds that wait staff employed at

all three of Defendants’ restaurant locations may join the collective despite Cai’s account

relating only to wait staff at the Third Avenue location. (See Discussion, supra, at Section

II(B)).

                 Receptionists

          Finally, Plaintiffs seek to include in the proposed collective a category of employees

referred to as “receptionists” (Wu Aff. ¶ 80), but, in this instance, Plaintiffs have not made the

requisite showing that such inclusion would be appropriate.

          Wu reportedly had conversations with two receptionists at the 33rd Street location. (See

id.) According to Wu, the male part-time receptionist complained about the restaurant’s low

wages (see id. ¶¶ 95-96), and the young female receptionist, who reportedly worked two days per

week and 12 hours each day, also commiserated with Wu over her “extremely low wages.” (Id.

¶¶ 82, 85, 90.) Wu does not state, however, that he has any knowledge as to whether these

receptionists’ hourly rates of pay actually fell below the federal minimum wage, and his vague



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statements regarding their “low” wages do not suffice to evidence that their pay rates were

unlawful. Moreover, as both of the two referenced receptionists purportedly worked part-time, it

does not appear that they would have been denied overtime pay.

       “While [a p]laintiff’s burden of proof is low, it is not non-existent.” Romero v. H.B.

Automotive Group, Inc., No. 11cv386 (CM), 2012 WL 1514810, at *10 (S.D.N.Y. May 1, 2012).

Here, Plaintiffs have failed to make even a modest showing that receptionists employed by

Defendants were actually subject to any of the unlawful pay policies or practices alleged in the

Amended Complaint. Accordingly, this Court will not conditionally certify a collective that

includes receptionists. See, e.g., Weng, 2018 WL 1737726, at *4 (denying collective

certification with regard to wait staff when it was “unclear whether [waiter] was actually paid

less than minimum wage or denied lawfully owed overtime pay”).

               Other Categories of Non-Exempt Workers

       As noted above, Plaintiffs go so far as to assert that all non-exempt employees of

Defendants were subject to a common policy that denied them overtime pay, stating in their

moving brief, “that Plaintiffs [and] all other non-exempt workers ‘were victims of a common

policy or plan that violated the law.’” (Pl. Mem., at 13 (quoting Sanchez, 2013 WL 208909, at

*1).) Plaintiffs, however, offer no substantive information in their Amended Complaint or

Affidavits about any categories of workers other than those discussed above. At most, Wu and

Cai both state that “the unwritten rule at Defendants’ restaurants is that no one can get overtime

premiums.” (Wu Aff. ¶ 57; Cai Aff. ¶ 44.) A statement such as this is too conclusory to permit

even conditional certification of a collective that includes additional categories of workers. See

Sanchez v. JMP Ventures, L.L.C., No. 13cv7264 (KBF), 2014 WL 465542, at *2 (S.D.N.Y.




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Jan. 27, 2014) (plaintiff’s “generalized allegations” regarding defendants’ “common practices”

were insufficient to permit certification).

         Of course, courts may conditionally certify collectives of individuals with a variety of job

titles, but only where a common unlawful policy is shown. See Cano v. Four M Food Corp.,

No. 08cv3005 (JFB) (AKT), 2009 WL 5710143, at *9 (E.D.N.Y. Feb. 3, 2009) (“Even though

plaintiffs are certainly not required to show that they are identically situated, or that they possess

the same attributes with respect to their job, they are required to show that they are subject to the

same common policy or plan by defendants.”). To justify including different categories of

workers in an FLSA collective, a “modest but job-specific factual showing” is required. Yap,

146 F. Supp. 3d at 565 (citing She Jian Guo, 2014 WL 5314822, at *3); accord Shanfa

Li v. Chinatown Take-Out Inc., No. 16cv7787 (JCM), 2018 WL 1027161, at *5 (S.D.N.Y.

Feb. 21, 2018) (quoting Yap). In Yap, while conditionally certifying a collective of deliverymen

and chefs, the court rejected plaintiffs’ contention that their allegations regarding those two

categories of workers would “allow the Court to draw an ‘inference’ that [d]efendants ‘failed to

pay other employees such as wait staff, bussers, etc., their entitled overtime.’” Yap, 146 F. Supp.

3d at 565 (record citation omitted). Similarly, in Colon v. Major Perry St. Corp., No. 12cv3788

(JPO), 2013 WL 3328223 (S.D.N.Y. July 2, 2013), the court conditionally certified a collective

that included superintendents, but not handymen, where plaintiff’s “affidavit offer[ed] only a

brief sketch” regarding handymen and there was “no basis for concluding that these two groups

were subject to the same policy.” Id. at *7. Here, Plaintiffs have not even offered a brief sketch

of the hours and compensation of groups of workers other than those identified and discussed

above.




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III.    SCOPE AND FORM OF COURT-AUTHORIZED NOTICE

        In light of the above rulings, the Proposed Notice of Pendency submitted by Plaintiffs

(Troy Decl., Ex. 4) must be modified to some extent, consistent with this Court’s Order, and as

discussed below.

                Appropriate Notice Period

        Given Plaintiffs’ allegations of willful violation of the FLSA minimum wage and

overtime provisions, the Court agrees with Plaintiffs that the relevant period for this collective

should run from June 20, 2014 (i.e., three years prior to the original filing of Wu’s case) to the

date of final judgment in the action. While Defendants deny any willful violations (see Answer

¶¶ 1-3), this is of no moment for purposes of defining the scope of the collective. See

Hamadou, 915 F. Supp. 2d at 668 (“Where willfulness is disputed, the court applies the

three-year statute of limitations for purposes of certifying a representative action.”).

                Appropriate Opt-In Period

        Plaintiffs did not propose a specified length for the opt-in period for potential plaintiffs

who may wish to join the collective. In similar cases, however, this District has approved a

60-day opt-in period, which this Court finds appropriate here. See, e.g., Racey v. Jay-Jay

Cabaret, Inc., No. 15cv8228 (KPF), 2016 WL 3020933, at *7 (S.D.N.Y. May 23, 2016) (finding

that a 30-day opt-in period was too short “to effect [n]otice on the potential opt-in plaintiffs”);

Whitehorn v. Wolfgang’s Steakhouse, Inc., 767 F. Supp. 2d 445, 451-52 (S.D.N.Y. 2011)

(collecting cases).

                Equitable Tolling

        Plaintiffs also request that the statute of limitations for potential plaintiffs’ claims “be

tolled for 90 days until the expiration of the Opt-In Period.” (Pl. Mem., at 18.) In support of this



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request, Plaintiffs express concern because “the statute of limitations period continues to run

with respect to each potential plaintiff’s collective action claim until that plaintiff files the

written consent form opting into the suit.” (Id., at 17.) Equitable tolling, however, is applicable

only in “rare and exceptional circumstances.” Phillips v. Generations Family Health Ctr., 723

F.3d 144, 150 (2d Cir. 2013) (quoting A.Q.C. ex rel. Castillo v. United States, 656 F.3d 135, 144

(2d Cir. 2011)).

        A “district court may toll the limitations period to avoid inequitable circumstances,

giving due consideration to whether the plaintiffs have acted with reasonable diligence in

pursuing their claims and whether the circumstances are extraordinary enough to warrant

equitable relief.” Viriri v. White Plains Hosp. Med. Ctr., 320 F.R.D. 344, 355 (S.D.N.Y. 2017)

(quoting Jackson v. Bloomberg, L.P., 298 F.R.D. 152, 170 (S.D.N.Y. 2014)). In particular, some

courts have tolled the statute of limitations for the claims of potential opt-in plaintiffs for the

period of time that a motion for conditional certification has been sub judice, see id., although it

has also been held that delay by the court in deciding the motion will not justify equitable tolling,

absent a showing that the litigants seeking to benefit from the tolling have acted diligently to

protect their rights, see Knox v. John Varvatos Enterprises Inc., 282 F. Supp. 3d 644, 658

(S.D.N.Y. 2017).

        In any event, several courts have “declined to apply equitable tolling where the delay, in

their view, was not of such a magnitude as to warrant tolling.” Viriri, 320 F.R.D. at 355; see

also Mark v. Gawker Media LLC, No. 13cv4347 (AJN), 2014 WL 5557489, at *2 (S.D.N.Y.

Nov. 3, 2014) (declining equitable tolling where 11 months had passed since the filing of the

motion for conditional certification, and finding that “the time delay between the date [p]laintiffs

filed the motion and its resolution. . . was not extraordinary” (internal quotation marks omitted)).



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Courts have also found that a determination as to equitable tolling would be premature, prior to a

showing that the claims of any potential opt-in would be barred as the result of a notice delay.

See Whitehorn, 767 F. Supp. 2d at 450 (finding that plaintiff’s request to toll the statute of

limitations was premature, as it was yet unclear whether or not any potential plaintiffs would be

barred from the action due to a delay in notice).

       In this case, Plaintiffs’ motion for conditional certification was filed on March 20, 2019.

There has been no substantial gap between the time the motion was filed and the date of this

decision, and, in fact, the time taken by this Court to decide the motion has been less than the

11 months in Mark, where the court declined to find equitable tolling. See 2014 WL 5557489, at

*2-3. Moreover, Plaintiffs have not demonstrated that the claims of any potential opt-in

plaintiffs would actually be barred as the result of any delay occasioned by the Court or by the

terms of the notice. See Whitehorn, 767 F. Supp. 2d at 450. For these reasons, Plaintiffs’ request

that this Court make a determination of equitable tolling is denied, without prejudice to the rights

of potential opt-in plaintiffs to make a further application for tolling upon an appropriate

showing of exceptional circumstances and the requisite diligence.

               Language of the Notice

       Plaintiffs request that all notices or posts to employees’ attention be in English, Chinese,

Spanish, and Malay/Indonesian, as many employees of Defendants’ restaurants are not well

versed in the English language. (See Pl. Mem., at 16.) This type of request has been granted in

other cases, see, e.g., Iriarte v. Cafe 71, Inc., No. 15cv3217 (CM), 2015 WL 8900875, at *6

(S.D.N.Y. Dec. 11, 2015) (citing Cuzco v. Orion Builders, Inc., 477 F. Supp. 2d 628, 635

(S.D.N.Y. 2007)); see also Castillo v. Perfume Worldwide Inc., No. CV 17-2972 (JS) (AKT),

2018 WL 1581975, at *15 (E.D.N.Y. Mar. 30, 2018) (finding that, in light of broad remedial



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purpose of FLSA, translating a notice into Spanish was appropriate), and this Court finds it

reasonable and appropriate in this case, to increase the effectiveness of the notice in reaching

potential opt-in plaintiffs. Accordingly, Plaintiffs are granted leave to send out notice of the

collective action in both English, Chinese, 4 Spanish, and Malay/Indonesian.

               Defendants’ Production of Contact
               Information for Potential Opt-In Plaintiffs

       In order to facilitate the provision of notice, Plaintiffs request that Defendants produce a

Microsoft Excel data file containing contact information (“including but not limited to last

known mailing addresses, last known telephone numbers, last known email addresses, last

known WhatsApp, WeChat and/or Facebook usernames, work location, dates of employment,

and position”) for all non-managerial employees who worked for Defendants from June 20, 2014

to the present day. (Pl. Mem., at 14.) Courts in this District “commonly grant” requests for the

production of such information, in connection with the conditional certification of an FLSA

collective action. Martin v. Sprint/United Mgmt. Co., No. 15cv5237 (PAE), 2016 WL 30334, at

*19 (S.D.N.Y. Jan. 4, 2016); see also In re Penthouse Exec. Club Comp. Litig., No. 10cv1145

(NRB), 2010 WL 4340255, at *5 (S.D.N.Y. Oct. 27, 2010) (noting that “courts often order the

production of such information at the notice stage”).

       Accordingly, Plaintiffs’ request that Defendants be required to provide the requested

information is granted, but, consistent with this Court’s decision as to the appropriate scope of

the collective, such production need only be made regarding potential opt-in plaintiffs who


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         Although Plaintiffs do not specify the Chinese dialect in which the notice should be
prepared, this Court assumes, based on a statement by Wu in his Affidavit referring to a
conversation he had in Mandarin Chinese, (see Wu Aff ¶ 84), that they are seeking to have the
notice prepared in Mandarin. If Plaintiffs believe that additional dialects are necessary to
provide meaningful notice to all members of the collective, then they may also send out notice
with additional translations.

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worked at Defendants’ restaurants as delivery workers, sushi chefs, food packers, dishwashers,

or wait staff. See Ji Li v. Ichiro Restaurant Inc., No. 14cv10242 (AJN) (JCF), 2015 WL

6828056, at *5 (S.D.N.Y. Nov. 5, 2015) (where the court found that plaintiffs had only

established that a group of delivery workers were similarly situated, defendants would only be

ordered to produce the requested information for the delivery workers). The information may be

provided by Defendants in Microsoft Excel, or in any other reasonably useable form.

                                         CONCLUSION

       For all the foregoing reasons, Plaintiffs’ motion for conditional certification of the

collective and Court-authorized notice (Dkt. 72) is granted in part and denied in part.

       Plaintiffs are directed to modify their Proposed Notice of Pendency in accordance with

the rulings herein, and to resubmit it to this Court for approval within two weeks of the date of

this Order.

       Within 30 days of the date of this Order, Defendants shall provide to Plaintiffs’ counsel

the names, last known mailing addresses, last known telephone numbers, last known email

addresses, last known WhatsApp, WeChat and/or Facebook usernames, work location, dates of

employment, and position for all delivery workers, sushi chefs, food packers, dishwashers, or

wait staff who worked for Defendants at any of their three restaurants from June 20, 2014 to the

present.

       Once this Court approves the modified notice, Plaintiffs’ counsel may arrange to have it

disseminated, in any relevant language, via mail, email, text message, and/or social media chat,

to all potential members of the collective. At the same time that the notice is disseminated by

Plaintiffs’ counsel, Defendants shall post a copy of the notice, in all relevant languages, at each

restaurant location, in a conspicuous and unobstructed location or locations likely to be seen by



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all currently employed members of the collective, and the notice shall remain so posted

throughout the opt-in period.

       In light of the rulings herein, the Clerk of Court is directed to close the motion filed at

Dkt. 72 on the Docket of this action.

Dated: New York, New York
       July 25, 2019

                                                      SO ORDERED



                                                      DEBRA FREEMAN
                                                      United States Magistrate Judge

Copies to:

All counsel (via ECF)




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